                                                                Case 16-16602-btb         Doc 70   Entered 07/03/17 14:02:26   Page 1 of 4




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                                                        7   Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                        8                                 UNITED STATES BANKRUPTCY COURT

                                                        9                                          DISTRICT OF NEVADA

                                                       10       In re:                                       Case No. BK-S-16-16602-BTB
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                                                                                                             Chapter 7
                                                       11       BRANDON MICHAEL D'HAENENS,
                                                                                                             MOTION TO EXTEND DEADLINE TO
          NELSON & HOUMAND , P.C.




                                                       12                       Debtor.                      FILE OBJECTION TO DEBTOR’S
                                                                                                             CLAIM OF EXEMPTIONS PURSUANT
                                                       13                                                    TO FEDERAL RULE OF BANKRUPTCY
                                                       14                                                    PROCEDURE 4003

                                                       15                                                    Date of Hearing:     August 3, 2017
                                                                                                             Time of Hearing:     11:00 a.m.
                                                       16                                                    Place: Courtroom No. 4, Second Floor
                                                                                                                                  Foley Federal Building
                                                       17
                                                                                                                                  300 Las Vegas Blvd., S.
                                                       18                                                                         Las Vegas, NV 89101

                                                       19                                                    Judge: Honorable Bruce T. Beesley1

                                                       20                SHELLEY D. KROHN, the duly appointed Chapter 7 Trustee in the above-captioned

                                                       21   bankruptcy case (the “Trustee”), by and through her counsel of record, Victoria L. Nelson, Esq.,

                                                       22   Jacob L. Houmand, Esq., and Kyle J. Ortiz, Esq. of the law firm of Nelson & Houmand, P.C.,

                                                       23   hereby submits this Motion to Extend Deadline to File Objection to Debtor’s Claim of

                                                       24   Exemptions Pursuant to Federal Rule of Bankruptcy Procedure 4003 (the “Motion”).

                                                       25
                                                            1
                                                       26    Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                            U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                       27   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                       28   Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                            States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
                                                                                                            -1-
                                                                Case 16-16602-btb     Doc 70        Entered 07/03/17 14:02:26    Page 2 of 4




                                                        1            The Motion is based upon the following Memorandum of Points and Authorities, the

                                                        2   pleadings and papers on file herein, and any argument that may be presented at the hearing on the

                                                        3   Motion.2

                                                        4                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                        5                                I.         JURISDICTION AND VENUE

                                                        6            This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1134. This

                                                        7   is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue before this Court is appropriate

                                                        8   under 28 U.S.C. §§ 1408 and 1409. This matter constitutes a core proceeding under 28 U.S.C. §

                                                        9   157(b)(2). Pursuant to Local Rule 9014.2, if the Court determines that absent consent of the

                                                       10   parties the Court cannot enter final orders or judgment regarding the Motion consistent with
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                                                       11   Article III of the United States Constitution, the Firm consents to entry of final orders and
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                                                       12   judgment by this Court. The statutory basis for the relief sought herein are FRBP 4003.

                                                       13                                     II.     STATEMENT OF FACTS

                                                       14            1.     On December 13, 2016, BRANDON MICHAEL D'HAENENS (the “Debtor”)

                                                       15   filed a voluntary bankruptcy petition pursuant to Chapter 7 of Title 11 of the United States Code

                                                       16   [ECF No. 1]3.

                                                       17            2.     On December 13, 2016, the Trustee was appointed as the Chapter 7 Trustee in the

                                                       18   Debtor’s bankruptcy case [ECF No. 2].

                                                       19            3.     On April 19, 2017, the Trustee concluded the Debtor’s Section 341(a) Meeting of

                                                       20   Creditors.

                                                       21            4.     Accordingly, the initial deadline for the Trustee to object to the Debtor’s

                                                       22   exemptions was May 19, 2017.

                                                       23            5.     On May 16, 2017, the Parties entered into a Stipulation to Extend Deadline to

                                                       24   Object to Debtor’s Exemptions Pursuant to Federal Rule of Bankruptcy Procedure 4003 [ECF

                                                       25
                                                            2
                                                              The Trustee also requests that the Court take judicial notice of all pleadings filed in the above-
                                                       26   referenced bankruptcy case, including adversary proceedings, pursuant to Rule of Evidence 201,
                                                            incorporated by reference by FRBP 9017.
                                                       27
                                                            3
                                                       28     All references to “ECF No.” are to the numbers assigned to the documents filed in the case as
                                                            they appear on the docket maintained by the clerk of the court.
                                                                                                             -2-
                                                             Case 16-16602-btb          Doc 70      Entered 07/03/17 14:02:26      Page 3 of 4




                                                        1   No. 67] (the “First Exemption Stipulation”).

                                                        2          6.         The First Exemption Stipulation sought to extend the deadline for the Trustee to

                                                        3   file an objection to the Debtor’s exemptions from May 19, 2017, up to and including July 3, 2017.

                                                        4          7.         On May 17, 2017, the Court entered an Order Approving Stipulation to Extend

                                                        5   Deadline to Object to Debtor’s Exemptions Pursuant to Federal Rule of Bankruptcy Procedure

                                                        6   4003 [ECF No. 68].

                                                        7          8.         The Trustee and the Debtor have agreed to settle, among other things, any dispute

                                                        8   concerning the Debtor’s exemptions.

                                                        9          9.         The Trustee and the Debtor are in the process of finalizing a settlement agreement

                                                       10   and the Trustee seeks a brief extension of the deadline to file an objection to the Debtor’s
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                                                       11   exemptions from July 3, 2017, up to and including August 31, 2017, to allow her to conclude the
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                                                       12   negotiations concerning the terms of the settlement agreement with the Debtor.

                                                       13                                        III.   LEGAL ARGUMENT

                                                       14          FRBP 4003(b)(1) provides, in pertinent part:

                                                       15                     Except as provided in paragraphs (2) and (3), a party in interest may
                                                                              file an objection to the list of property claimed as exempt within 30
                                                       16                     days after the meeting of creditors held under § 341(a) is concluded
                                                       17                     or within 30 days after the amendment to the list or supplemental
                                                                              schedules is filed, whichever is later. The court may, for cause,
                                                       18                     extend the time for filing objections if, before time to object
                                                                              expires, a party in interest files a request for an extension.
                                                       19
                                                       20   FED. R. BANKR. P. 4003(b)(1).

                                                       21          “Cause” is not defined in the Bankruptcy Code or the Bankruptcy Rules; "therefore, the
                                                       22   determination is committed to the Court's discretion." In re Ballas, 342 B.R. 853, (Bank. M.D.
                                                       23   Fla. 2005) (discussing "cause" under Bankruptcy Rule 4004).               However, the Bankruptcy
                                                       24   Appellate Panel for the Ninth Circuit indicated that allowing for "an opportunity to investigate
                                                       25   fully the nature of' a debtor's claimed exemptions or interest in allegedly exempt property would
                                                       26   constitute "cause" under Bankruptcy Rule 4003(b)(1). See In re Clark, 266 B.R. 163, 171 (RA.P.

                                                       27   9th Cir. 2001).
                                                       28   ...

                                                                                                               -3-
                                                             Case 16-16602-btb         Doc 70     Entered 07/03/17 14:02:26       Page 4 of 4




                                                        1           Here, cause exists to extend the deadline to object to the Debtor’s exemptions because the

                                                        2   Trustee has agreed to settle, among other things, any and all disputes with the Debtor concerning

                                                        3   his claimed exemptions. The Trustee and the Debtor are in the process of finalizing the terms of a

                                                        4   settlement agreement that will be the subject of a motion to approve compromise filed pursuant to

                                                        5   FRBP 9019. In order to allow the Trustee and the Debtor to finalize the terms of such an

                                                        6   agreement, a brief extension of the deadline to object to the Debtor’s exemptions from July 3,

                                                        7   2017, up to and including August 31, 2017, is appropriate.

                                                        8                                          IV.     CONCLUSION

                                                        9           For the foregoing reasons, the Trustee respectfully requests that this Court enter an Order:

                                                       10   (a) extending the deadline for the Trustee to file an objection to exemptions claimed by the
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                                                       11   Debtor from July 3, 2017 up to and including August 31, 2017 pursuant to FRBP 4003(b)(1); and
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                                                       12   (b) for such other relief as is just and proper.

                                                       13           Dated this 3rd day of July, 2017.

                                                       14                                                       NELSON & HOUMAND, P.C.

                                                       15                                                       By: /s/ Jacob L. Houmand
                                                                                                                Victoria L. Nelson, Esq. (NV Bar No. 5436)
                                                       16                                                       Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                       17                                                       Kyle J. Ortiz, Esq. (NV Bar No. 14252)
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                                                       20                                                       Counsel for Shelley D. Krohn, Chapter 7 Trustee
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